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      UNITED STATES BANKRUPTCY COURT
       FOR THE DISTRICT OF NEW JERSEY
        Caption in Compliance with D.N.J. LBR 9004-1(a)

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 Counsel to PREP Home Retail-Oceanside LLC
                                                                     Chapter 11
 In re:
                                                                     Case No. 23-13359 (VFP)
                                                 1
 BED BATH & BEYOND INC., et al. ,
                                                                     Judge: Vincent F. Papalia
 Debtor.



               LIMITED OBJECTION OF PREP HOME RETAIL-OCEANSIDE LLC
              REGARDING NOTICE TO CONTRACT PARTIES TO POTENTIALLY
               ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES

             PREP Home Retail-Oceanside LLC (“PREP” or “Landlord”), by and through its

 undersigned counsel, hereby files this Limited Objection to the Notice to Contract Parties to

 Potentially Assumed Executory Contracts and Unexpired Leases (the “Cure Notice”) [DI 714],

 and in support thereof states as follows:

                                                     BACKGROUND

             1.       On April 23, 2023 (the “Petition Date”), the Debtors filed Voluntary Petitions for

 relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Since the




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      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
      Debtors in these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the
      website of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location
      of Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these Chapter
      11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.



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 Petition Date, the Debtors have continued to manage their properties and operate their businesses

 as debtors-in- possession pursuant to §§1107 and 1108 of the Bankruptcy Code.

         2.      PREP, as landlord, and debtor Bed Bath & Beyond, Inc., as tenant (“Tenant”) entered

 into that certain lease dated June 21, 1996 as disclosed by a Memorandum of Lease recorded September

 24, 1996 as Instrument No. 1996-0483982 of Official Records for County of San Diego, State of

 California, as amended by the following amendments: First Amendment to Lease Agreement dated

 November 11, 1996; Lease Modification Letter dated February 19, 1997; Settlement and Release

 Agreement dated as of September 1, 1998; Letter Agreement dated February 23, 2005; Letter Agreement

 dated November 10, 2006; Second Amendment to Lease dated May 10, 2012; Option Exercise Notice

 Letter dated July 24, 2017; Third Lease Modification dated January 21, 2021 and Assignment and

 Assumptions of Leases dated June, 2015 Store # 139 (collectively, the “Lease”).

         3.      The Lease relates to the Tenant’s premises located at 2120 Vista Way, Oceanside,

 California 92054 (the “Premises”) consisting of approximately 44,000 square feet in the shopping center

 commonly known as Pacific Coast Plaza (the “Shopping Center”) that had been utilized as a Bed Bath &

 Beyond store by the Debtors. The Premises and the Shopping Center are a “shopping center” within

 the meaning of § 365(b)(3) of the Bankruptcy Code.

         4.      On June 13, 2023, the Debtors filed the Cure Notice primarily in relation to the

 Debtors attempts to sell the Debtors’ assets (or as much of such assets as they could) as a going

 concern sale. For that process, the Debtors designated nearly all of its executory contracts and

 unexpired leases as a potential candidate for assumption and assignment. As it relates to the Lease,

 the Cure Notice states no cure amount. See DI 714, Cure Notice, at Line Item No. 1527 (ECF p. 32 of 46).

         5.      The Cure Notice also stated the following:

                 PLEASE TAKE FURTHER NOTICE that if no objection to (a) the
                 Cure Payments, (b) the proposed assignment and assumption of any
                 Executory Contract or Unexpired Lease, or (c) adequate assurance of
                 the Successful Bidder’s ability to perform is filed by the Cure Objection
                 Deadline, then (i) you will be deemed to have stipulated that the Cure
                 Payments as determined by the Debtors are correct, (ii) you will be
                 forever barred, estopped, and enjoined from asserting any additional
                 Cure Payments are due under the Executory Contract or Unexpired


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                Lease, and (iii) you will be forever barred, estopped, and enjoined from
                objecting to such proposed assignment to the Successful Bidder on the
                grounds that the Successful Bidder has not provided adequate assurance
                of future performance as of the closing date of the Sale Transaction.
 DI 714 at p. 3 of 46.

           6.   In connection with the filing of the Cure Notice and the attempted sale of the

 business assets, the Debtors filed on June 13, 2023 their Notice of Selection of Stalking Horse

 Bidder (DI 708) designating Ovestock.com, Inc. as the proposed stalking horse bidder and

 attached the proposed Asset Purchase Agreement for the transaction. Notably, Section 2.1(e) of

 the Disclosure Schedules—which would list the Contracts (as defined in the APA to include

 leases) that are included within the definition of “Acquired Assets” as defined in Section 2.1 of

 the APA—was not included with the APA attached to the Notice of Selection of Stalking Horse

 Bidder.

           7.   Thereafter, on June 22, 2023, the Debtors filed their Notice of Successful Bidder

 and Backup Bidders with Respect to the Stalking Horse Bid and June 21, 2023 Auction (DI 877).

 In that Notice, the Debtors disclosed that Overstock.com, Inc. was the successful bidder for the

 “Acquired Assets” and attached, yet again, the proposed Asset Purchase Agreement, but without

 the Section 2.1(e) Disclosure Schedule designating the executory contracts and unexpired leases

 to be included within the sale. Further, this Notice designated two additional bidders as backup

 bidders for certain assets, yet it is not clear as to whether PREP’s Lease is included within any of

 these proposed sales.

           8.   For these reasons, Landlord hereby objects to (i) the proposed Cure Payments, (ii)

 any proposed assignment and assumption of the Lease and (iii) the adequate assurance of future

 performance any proposed “Successful Bidder” to perform under the Lease. Further, Landlord

 reserves all of its rights as to a potential assumption or assumption and assignment of the Lease

 in connection with the “business” sale to the extent relevant or with respect to the forthcoming

 Phase 1 Lease Sale and Phase 2 Lease Sale processes.




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                         OBJECTION TO PROPOSED CURE AMOUNT

         9.      In order to assume the Lease, the Debtors are required to cure defaults existing

 under such lease pursuant to § 365(b)(1)(A) of the Bankruptcy Code, which provides in relevant

 part that “[i]f there has been a default in an executory contract or unexpired lease of the debtor,

 the trustee may not assume such contract or lease unless, at the time of assumption of such

 contract or lease, the trustee … cures, or provides adequate assurance that the trustee will

 promptly cure, such default…” 11 U.S.C. § 365(b)(1)(A).

         10.     As of the Petition Date, Landlord holds a pre-petition claim against Tenant under

 the Lease in the amount of no less than $15,190.81 attributed to the following:

                  Late Charge (Mar. 2023)                         $2,141.38
                  Late Charge (Apr. 2023)                         $2,588.80
                  Tenant Bill Back Charge                             $3.50
                  2022 CAM Reconciliation                        $10,457.13
                  Total:                                         $15,190.81
 (collectively, the “Pre-Petition Cure Claim”).

         11.     Prior to and after the Petition Date, Tenant has generally been paying its monthly

 rent as it comes due. However, depending on the effective date of any proposed assumption (or

 assumption and assignment) of the Lease, such monthly rent may be due or overdue and thus should be

 included in any cure payment to be made to Landlord, as necessary or appropriate.          Landlord’s cure

 should include rent and other charges arising after the filing of this objection including July 2023 monthly

 rent and other charges. The projected rent due on or before July 1, 2023 is $51,841.50 comprised of the

 following:

                  Rent Charge (Jul. 2023)                        $42,759.00
                  Tenant Bill Back Charge                            $68.50
                  Insurance Charge                                  $617.00
                  CAM Charge                                       8,400.00
                  Total:                                         $51,841.50
         12.     Moreover, Tenant remains obligated to Landlord for additional sums under the

 Lease, including but not limited to real property taxes, CAM, CAM reconciliations, insurance

 and related charges, which either will come due after the date of this objection or for which the


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 actual amount due will not be known until a future date after the anticipated date of assumption

 (or assumption and assignment).

         13.     For 2023, it is possible that Tenant could owe Landlord additional sums after

 reconciliation occurs after the end of the year. The obligation to pay any such amounts must be

 addressed by either the Debtors or any proposed assignee of the Lease in connection with any

 assumption or assumption and assignment of the Lease.

               OBJECTION TO PROPOSED ASSUMPTION AND ASSIGNMENT

         14.     At this time, no assumption or assumption and assignment of the Lease has been

 proposed in connection with the “going concern sale” or “business sale” and, thus, Landlord does

 not have information as to the terms of any proposed assumption or assumption and assignment

 of the Lease. Moreover, the Lease contains broad indemnification obligations of Tenant which

 may not become known until after the assumption and assignment of the Lease. Any proposed

 assumption and assignment must provide for the assignee to inherit the responsibility for the indemnity

 obligations existing under the Lease. Finally, as it relates to the Phase 1 Lease Sale and Phase 2

 Lease Sale process, which are still in prospect, Landlord submits this objection and reserves all of

 its rights as that process plays out.

        OBJECTION TO ADEQUATE ASSURANCE OF FUTURE PERFORMANCE

         15.     The Debtors may not assume and assign the Lease unless they can demonstrate

 adequate assurance of future performance of the terms of the Lease by the proposed assignee.

 S e e 11 U.S.C. § 365(b)(1)(C), (f)(2). The establishment of whether adequate assurance of

 future has been provided affirmative duty of the Debtors, and the Debtors bear the ultimate

 burden of persuasion as to issues under Section 365.

         16.     In this case, the Lease is a shopping center lease and, as such, the Bankruptcy

 Code requires more than the basic adequate assurance of future performance of the Lease under

 section 365(b)(1)(C).     In order to assume and assign shopping center leases, the Debtors must

 satisfy the heightened requirements set forth in section 365(b)(3)(A) to (D).




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         17.     At this time, no assumption or assumption and assignment of the Lease has been

 proposed and thus, Landlord does not have any information as to the identity of any “Successful

 Bidder” with respect to the Lease or any proposed terms.           Therefore, Landlord objects to

 adequate assurance of future performance pursuant to section 365(b) and reserves all of its rights,

 including as to credit enhancement under section 365(l) of the Code.

                                   RESERVATION OF RIGHTS

         18.     Landlord specifically reserves its rights to object to any other relief sought by the

 Debtors in connection with the assumption (or the assumption and assignment) of the Lease,

 including, without limitation, the terms of assignment and an assignee’s proposed adequate

 assurance of future performance.
         19.     Landlord reserves the right amend or supplement this objection as to the cure

 amount or any other issue raise herein. Landlord further reserves all rights as they relate to the

 Phase 1 Lease Sale and Phase 2 Lease Sale processes.

         20.     Lastly, the Lease contains provisions for recovery of attorneys’ fees and costs in

 the event Landlord is required to take legal action to protect its interests. Landlord reserves all

 of its rights to recovery of its attorneys’ fees incurred in connection with any proposed

 assumption or assumption and assignment of the Lease.

         WHEREFORE, Landlord respectfully requests that the Court address Landlord’s issues

 raised herein with respect to the Lease of Store No. 139 as it may relate to any sale motion and

 order (going concern, business assets, lease assets or otherwise), and grant such further relief as

 is just and proper.

 Dated: June 23, 2023                          BENESCH, FRIEDLANDER,
                                               COPLAN & ARONOFF LLP

                                               By:       /s/ Kevin M. Capuzzi
                                                       Kevin M. Capuzzi (NJ No. 173442015)

                                               Counsel to landlord
                                               PREP Home Retail-Oceanside LLC



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